               Case 5:21-cv-05574-JMG Document 51-5 Filed 06/07/22 Page 1 of 1




From:             Courtney Conover <daisy1080@msn.com>
Sent:             Tuesday, June 7, 2022 7:17 PM
To:               PAED Documents; tkolman@kolmanlaw.com; Kolman Law Client Care
Subject:          Testimonial Affidavits of Kayla Miller and Samantha Snow
Attachments:      TestimonialEvidence.pdf; KaylaMillerStatement.pdf; Sam Affidavit_000005.pdf; Evidence and
                  Proofs.pdf; Essay.pdf



CAUTION - EXTERNAL:




CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




                                                        1
